Case 2:04-cr-20497-BBD Document 29 Filed 07/08/05 Page 1 of 2 PagelD 39

lN THE uNlTEo sTATEs olsTRlcT couRT men 3¥4’/-- °~°'
FoR THE wEsTERN olsTRlcT oF TENNEssEE ' w 12
WEsTERN olvlsloN nsJ -8 Pl‘l

 

uNlTED sTATEs oF AMERIcA GHM§§ §[?§E§;‘§EM“C
Plaimifr

VS.
CR. NO. 04-20497-D

ANTON|O LEW|S

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Thursda Se tember 22 2005 at 9:00 a.m., in Courtroom 3 9th Floor

 

 

of the Federal Building, Memphls, TN.

The period from July 15, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this d day Of Ju|y, 2005.

 

NiTED STATES D|STR|CT JUDGE

role document entered on the docket sheet ln compliance

with Flule 55 ami/or 32(b) FRCrP on f ’Z`§ Q§:§ 17/§?

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20497 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

